 8:04-cr-00447-BCB-FG3            Doc # 80   Filed: 04/25/05   Page 1 of 2 - Page ID # 239




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                  8:04CR447
                     Plaintiff,               )
                                              )
              v.                              )
                                              )        MEMORANDUM AND ORDER
ROGELIO RIOS-LOPEZ,                           )
                                              )
                     Defendants.              )
                                              )


       This matter is before the court on the objection of defendant Rogelio Rios-Lopez,

Filing No. 66, to the report and recommendation of the United States Magistrate Judge

(“magistrate”), Filing No. 48, that the defendant’s motion to suppress, Filing No. 35, should

be denied.

       Under 28 U.S.C. § 636(b)(1)(C), the court makes a de novo determination of those

portions of the report and recommendations to which the parties object. United States v.

Lothridge, 324 F. 3d 599, 600-01 (8th Cir. 2003). The court has reviewed the record

pursuant to 28 U.S.C. § 636(b)(1)(A), including the transcript of the suppression hearing,

Filing No. 54 (“Tr.”). The magistrate found that law enforcement officers had probable

cause to arrest defendant Rios-Lopez. Tr. at 34. The magistrate found that the collective

knowledge of all the officers involved in the investigation was sufficient to establish such

probable cause.     Id.   Rios-Lopez argues that the arresting officer lacked personal

knowledge to justify a warrantless arrest and search.

       The evidence shows that Rios-Lopez was arrested by DEA Agent Thurman

Windham as part of an investigation that involved co-defendants Victor Jose Barraza

Cazares and Ricardo Barraza (“the Barrazas”), who were arrested in New Mexico in

possession of over a kilogram of methamphetamine that was to be delivered to Grand

Island, Nebraska. Id. at 7-8. The Barrazas agreed to cooperate with law enforcement
 8:04-cr-00447-BCB-FG3        Doc # 80     Filed: 04/25/05    Page 2 of 2 - Page ID # 240




officers and to make a controlled delivery to a person known to them as “Jose Antonio” in

Grand Island. Id. at 10-12. Ricardo Barraza called a cell phone in Grand Island and made

arrangements to meet at a park. Id. at 10-14, 16. Rios-Lopez arrived at the park and

switched vehicles with the Barrazas and then attempted to leave. Id. at 17-20. Law

enforcement officers activated a previously-installed “kill-switch” and disabled the vehicle.

Id. at 19. At that point Rios-Lopez was arrested. Id. Some of the methamphetamine that

had originally been seized from the vehicle in New Mexico had been placed in the vehicle

by law enforcement officers as part of the controlled delivery. Id. at 15-16. In the search

of the vehicle, officers found a cell phone with the phone number that had been used to

arrange the meeting, as well as over $1,000.00 in cash. Id. at 20.

       The court agrees with the magistrate that Agent Windham had probable cause,

under the totality of the evidence, to arrest Rios-Lopez. The fact that Rios-Lopez showed

up at the prearranged meeting and made contact with the cooperating individuals furnished

such probable cause.      Accordingly, the court finds that the magistrate’s report and

recommendation should be adopted and defendant’s motion to suppress should be denied.

       IT IS ORDERED:

       1.     Defendant's objection, Filing No. 66, to the magistrate's report and

              recommendation is overruled;

       2.     The magistrate's report and recommendation, Filing No. 48, is adopted in its

              entirety;

       3.     Defendant Rios-Lopez’s motion to suppress, Filing No. 35, is denied.

       DATED this 25th day of April, 2005.

                                          BY THE COURT:



                                          /s/ Joseph F. Bataillon
                                          JOSEPH F. BATAILLON
                                          United States District Judge

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